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             tIJ2 Unita Stats Cmut of                       Claims


                                         1:17‐cv‐01174‐CFL Case
                                                 Hon. Claries F. LEttcw




Notice




                                                                          is
   opinion, judgment, and orders




                                           Ali Taha (pro se)



                                             Bradenton, FL 34212


                                              (341) 896‐3471
             Case 1:17-cv-01174-CFL Document 103 Filed 06/26/20 Page 2 of 3




                                                                              Charles
f. Lettow

  Ali Taha

                                                                                 costs



                             ‐es         Ui±ezzswerisæ‐gezoqzesticn2‐)




                                                                                 for
         I




2. Are
you
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                                       and
        Mohamad Taha (deceased in 2007) last employment was year
        2006. Sanaa Yassin neverworked




        if±e is no to au •questizns                                                              expensesSanaa
         Yassin is living with her daughter in the UAE

4.                   do have in cash                      a checking. szzin=s. zzzzte account?

 None



 No


 No


 None


 No
